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NATHAN P. NEWHAM,

             Petitioner,                              CIVIL ACTION NO.: 2:16-cv-9

     V.



UNITED STATES OF AMERICA,                             (CaseNo.:2:14-cr-12)

             Respondent.



                                    ORDER


     After an independent and de novo review of the entire

record, the undersigned concurs with the Magistrate Judge's

Report and Recommendation,        dkt.    no.   19,   to which Nathan Newham

("Newham") filed Objections.^            Accordingly, the Court ADOPTS the

Magistrate Judge's Report and Recommendation as the opinion of

the Court.      The Court DENIES in part and DISMISSES without

prejudice in part Newham's Motion to Vacate, Set Aside, or

Correct his Sentence,        filed pursuant to 28 U.S.C. § 2255.

^ In his Objections, Newham requests that the Court consider his claim
for a downward departure pursuant to Amendment 794, which applies
retroactively.  Dkt. No. 20, p. 4.  While this Amendment to the United
States Sentencing Guidelines is retroactively applicable, it offers
Newham no relief.  See United States v. Donis-Galan, 646 F. App'x 867
(11th Cir. 2016). Regardless of the retroactive application of this
Amendment, Newham fails to overcome the appeal and collateral attack
waivers contained in his plea agreement or to otherwise establish that
his trial counsel rendered ineffective assistance.
               Case 2:14-cr-00012-LGW-BWC Document 799 Filed 06/14/17 Page 2 of 2




                   The Court DENIES Newham in forma pauperis status on appeal

              and a Certificate of Appealability.       The Court DIRECTS the Clerk

              of Court to CLOSE this case and to enter the appropriate

              judgment of dismissal.

                   SO ORDERED, this I ^      dav of                        , 2017.


                                          HON. jLISA ^DBEXWOOD^-JUDGE
                                          UNITED ST^ES DISITTCCT COURT
                                          SOUTHERN/DISTRICT OF GEORGIA




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(Rev. 8/82)
